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  Exhibit G – Excerpts of Plaintiffs’ Expert Witness K. Keyes Transcript of
  Deposition (Sept. 15, 2020)
  [FILED UNDER SEAL]


  PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO EXCLUDE MARKETING
  OPINIONS OF DRS. ANNA LEMBKE, KATHERINE KEYES, ANDREW KOLODNY, AND JAKKI
  MOHR




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